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      2   711 Ninth Street, Suite 100
          Sacramento, CA 95814
      3   916.438.7711 FAX 916.864.1359
      4   Attorney for Defendant
          MARCELA SANTAMARIA
      5
      6
      7                        IN THE UNITED STATES DISTRICT COURT
      8                      FOR THE EASTERN DISTRICT OF CALIFORNIA
      9
     10   UNITED STATES OF AMERICA,                         No. 2:11-CR-00096 JAM
     11                                Plaintiff,           STIPULATION AND ORDER TO
                                                            CONTINUE STATUS CONFERENCE,
     12          vs.                                        AND TO EXCLUDE TIME PURSUANT
                                                            TO THE SPEEDY TRIAL ACT
     13   ALEJANDRO FLETES-LOPEZ, et al.,
     14                                Defendants.
     15
     16          IT IS HEREBY STIPULATED by and between the parties hereto through their
     17   respective counsel, Michael Beckwith and Paul Hemesath, Assistant United States Attorneys,
     18   attorneys for plaintiff; Arturo Hernandez, attorney for defendant Alejandro Fletes-Lopez;
     19   Kenny Giffard and Donald Masuda, attorneys for defendant Irma Gonzalez; Tim Pori, attorney
     20   for defendant Orlando Fletes-Lopez; Christopher Haydn-Myer, attorney for defendant Jesus
     21   Sanchez-Lopez; Olaf Hedberg, attorney for defendant German Velazquez; Michael Hansen,
     22   attorney for defendant Marcela Santamaria; Dina Santos, attorney for defendant Mauricio
     23   Portillo; Clemente Jimenez, attorney for defendant Consepcion Carillo; Gilbert Roque,
     24   attorney for defendant Guadalupe Reyes-Ontiveros; and Hayes Gable, III, attorney for
     25   defendant Diana Hernandez-Gonzalez, that the previously-scheduled status conference date of
     26   October 18, 2011, be vacated and the matter set for status conference on November 8, 2011, at
     27   9:30 a.m.
     28          This continuance is requested to allow counsel additional time to review discovery with


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      1   the defendants, to examine possible defenses and to continue investigating the facts of the case.
      2   Additionally, at least four defense attorneys are currently in trial in homicide cases in
      3   Sacramento and Yolo Counties.
      4          The Government concurs with this request.
      5          Further, the parties agree and stipulate the ends of justice served by the granting of such
      6   a continuance outweigh the best interests of the public and the defendants in a speedy trial and
      7   that time within which the trial of this case must be commenced under the Speedy Trial Act
      8   should therefore be excluded under 18 U.S.C. sections 3161(h)(7)(A) and (B)(iv),
      9   corresponding to Local Codes T2 [complex case] and T4 [reasonable time for defense counsel
     10   to prepare], from the date of the parties’ stipulation, October 14, 2011, to and including
     11   November 8, 2011.
     12          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
     13          IT IS SO STIPULATED.
     14   Dated: October 14, 2011                              Respectfully submitted,
     15                                                        /s/ Michael E. Hansen
                                                               MICHAEL E. HANSEN
     16                                                        Attorney for Defendant
                                                               MARCELA SANTAMARIA
     17
          Dated: October 14, 2011                              LAW OFFICES OF ARTURO
     18                                                        HERNANDEZ-MELENDEZ
     19                                                        By: /s/ Michael E. Hansen for
                                                               ARTURO HERNANDEZ
     20                                                        Attorney for Defendant
                                                               ALEJANDRO FLETES-LOPEZ
     21
          Dated: October 14, 2011                              LAW OFFICES OF DONALD MASUDA
     22
                                                               By: /s/ Michael E. Hansen for
     23                                                        KENNY GIFFARD
                                                               DONALD MASUDA
     24                                                        Attorneys for Defendant
                                                               IRMA GONZALEZ
     25
          Dated: October 14, 2011                              LAW OFFICES OF TIM A. PORI
     26
                                                               By: /s/ Michael E. Hansen for
     27                                                        TIM PORI
                                                               Attorney for Defendant
     28                                                        ORLANDO FLETES-LOPEZ


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      1   Dated: October 14, 2011                       CHRISTOPHER HAYDN-MYER LAW
                                                        OFFICES
      2
                                                        By: /s/ Michael E. Hansen for
      3                                                 CHRISTOPHER HAYDN-MYER
                                                        Attorney for Defendant
      4                                                 JESUS SANCHEZ-LOPEZ
      5   Dated: October 14, 2011                       LAW OFFICE OF OLAF W. HEDBERG
      6                                                 /s/ Michael E. Hansen for
                                                        OLAF HEDBERG
      7                                                 Attorney for Defendant
                                                        GERMAN GONZALEZ VELAZQUEZ
      8
          Dated: October 14, 2011                       LAW OFFICES OF DINA L. SANTOS
      9
                                                        By: /s/ Michael E. Hansen for
     10                                                 DINA SANTOS
                                                        Attorney for Defendant
     11                                                 MAURICIO PORTILLO
     12   Dated: October 14, 2011                       LAW OFFICE OF CLEMENTE M.
                                                        JIMENEZ
     13
                                                        /s/ Michael E. Hansen for
     14                                                 CLEMENTE JIMENEZ
                                                        Attorney for Defendant
     15                                                 CONSEPCION CARILLO
     16   Dated: October 14, 2011                       LAW OFFICE OF GILBERT A. ROQUE
     17                                                 By: /s/ Michael E. Hansen for
                                                        GILBERT ROQUE
     18                                                 Attorney for Defendant
                                                        GUADALUPE REYES-ONTIVEROS
     19
          Dated: October 14, 2011                       LAW OFFICE OF HAYES H. GABLE,
     20                                                 III
     21                                                 By: /s/ Michael E. Hansen for
                                                        HAYES GABLE, III
     22                                                 Attorney for Defendant
                                                        DIANA HERNANDEZ-GONZALEZ
     23
          Dated: October 14, 2011                       U.S. ATTORNEY’S OFFICE
     24
                                                        By: /s/ Michael E. Hansen for
     25                                                 MICHAEL BECKWITH
                                                        PAUL HEMESATH
     26                                                 Assistant U.S. Attorneys
                                                        Attorneys for Plaintiff
     27
     28


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      1                                               ORDER
      2           The Court, having received, read, and considered the stipulation of the parties, and
      3   good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order.
      4   Based on the stipulation of the parties and the recitation of facts contained therein, the Court
      5   finds that it is unreasonable to expect adequate preparation for pretrial proceedings and trial
      6   itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
      7   specifically finds that the failure to grant a continuance in this case would deny defense
      8   counsel to this stipulation reasonable time necessary for effective preparation, taking into
      9   account the exercise of due diligence. The Court finds that the ends of justice to be served by
     10   granting the requested continuance outweigh the best interests of the public and the defendants
     11   in a speedy trial.
     12           The Court orders that the time from the date of the parties’ stipulation, October 14,
     13   2011, to and including November 8, 2011, shall be excluded from computation of time within
     14   which the trial of this case must be commenced under the Speedy Trial Act, pursuant to 18
     15   U.S.C. sections 3161(h)(7)(A) and (B)(iv), and Local Codes T2 [complex case] and T4
     16   [reasonable time for defense counsel to prepare]. It is further ordered that the October 18,
     17   2011, status conference shall be continued until November 8, 2011, at 9:30 a.m.
     18           IT IS SO ORDERED.
     19   Dated: 10/17/2011                              /s/ John A. Mendez
                                 __________________________________
     20                                                  JOHN A. MENDEZ
                                                         United States District Judge
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